     Case 13-15966-VFP           Doc 193 Filed 02/14/17 Entered 02/14/17 11:13:34                      Desc Ntc
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Form 173 − hrggeneral

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 13−15966−VFP
                                          Chapter: 13
                                          Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Michael A Ricketts                                       Karie Ricketts
   354 Ogden Street                                         aka Karie L. Buckmire
   Orange, NJ 07050                                         354 Ogden Street
                                                            Orange, NJ 07050
Social Security No.:
   xxx−xx−5000                                              xxx−xx−4680
Employer's Tax I.D. No.:


                                              NOTICE OF HEARING

      NOTICE IS HEREBY GIVEN that a hearing in said cause shall be held before the Honorable Vincent F.
Papalia on

Date:                March 2, 2017
Time:                 11:00 AM
Location:        Courtroom 3B, Martin Luther King, Jr. Federal Building, 50 Walnut Street, 3rd Floor, Newark, NJ
07102

to consider and act upon the following:

190 − Certification of Default of Standing Trustee. re: Debtors failure to make plan payments Report. Filed by
Marie−Ann Greenberg. Objection deadline is 2/10/2017. (Attachments: # 1 30 DAY DEFAULT − PROPOSED
ORDER) (Greenberg, Marie−Ann)

192 − Certification in Opposition to Trustee's Certification of Default (related document:190 Certification of Default
of Standing Trustee. re: Debtors failure to make plan payments Report. Filed by Marie−Ann Greenberg. Objection
deadline is 2/10/2017. (Attachments: # 1 30 DAY DEFAULT − PROPOSED ORDER) filed by Trustee Marie−Ann
Greenberg) filed by Stuart M. Nachbar on behalf of Karie Ricketts, Michael A Ricketts. (Attachments: # 1
Certificate of Service) (Nachbar, Stuart)

and transact such other business as may properly come before the meeting.




Dated: February 14, 2017
JAN: jf

                                                                        Jeanne Naughton
                                                                        Clerk
